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        EXHIBIT 285
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                                                                       Page 1

1                        UNITED STATES DISTRICT COURT
2                     FOR THE DISTRICT OF MASSACHUSETTS
3                               BOSTON DIVISION
4       * * * * * * * * * * * * * * * * * *
5       STUDENTS FOR FAIR ADMISSIONS,                       *
6       INC.,                                               *
7                       Plaintiff,                          *
8       v.                                                  *    Civil Action
9       PRESIDENT AND FELLOWS OF HARVARD                    *   No. 14-cv-14176
10      COLLEGE (HARVARD CORPORATION),                      *       (ADB)
11                      Defendant.                          *
12      * * * * * * * * * * * * * * * * * *
13
14              HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
15              Rule 30(b)(6) Notice to Students for Fair
16                              Admissions, Inc.
17                  Videotaped Deposition of EDWARD J. BLUM
18                          Tuesday, July 12, 2016
19                                    9:05 a.m.
20               Wilmer Cutler Pickering Hale and Dorr LLP
21                       60 State Street - 26th Floor
22                        Boston, Massachusetts 02109
23
24      -----------       J. Edward Varallo, RMR, CRR                ----------
25                      Registered Professional Reporter

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                                                                 Page 47

1       around the time that you became a member?
2             A.     Yes.
3             Q.     Which would have been summer of 2013?
4             A.     Yes.
5             Q.     So again that's before SFFA was
6       incorporated as an entity.             Correct?
7             A.     That's correct.
8             Q.     Who maintained the member list in those
9       early days of the summer of 2013?
10            A.     I did.
11            Q.     And how did you maintain it?            In what
12      form?
13            A.     Spreadsheet.
14            Q.     An Excel spreadsheet?
15            A.     Yes.
16            Q.     What was the initial purpose of SFFA?
17            A.     Membership organization.
18            Q.     A membership organization to do what?
19            A.     Dedicated to ending race-based admissions
20      policies at American universities.
21            Q.     And that original -- what did I call it?
22      -- initial purpose, is that maintained?               Is that the
23      same purpose of the organization today, as you
24      understand it?
25            A.     Yes.

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1             A.     Yes.
2             Q.     And how do you know that?               How would SFFA
3       determine that a member agreed with the mission?
4             A.     Our mission statement was quite clear in
5       emails, discussions, and subsequently our mission
6       statement is very prominent on all of our
7       communications and our website.
8             Q.     So that describes how people know what the
9       mission is.      My question is, how do you know that
10      the members who became members under these bylaws
11      we're looking at in Exhibit 4 agreed with that
12      mission?
13            A.     I assume they would not have joined had
14      they disagreed with that mission.
15            Q.     But you don't know whether they joined
16      even if they disagreed with that mission?
17            A.     It seemed unlikely to me that -- If they
18      joined, it seemed very likely that they agreed with
19      the mission.
20            Q.     And why do you say that?
21            A.     Well, we were a relatively small group of
22      people.     We all knew one another.               We had all
23      labored in this movement.            It seems unlikely that
24      someone would call me and say "I want to be a
25      member" or agree to be a member but disagree with

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